IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION


                                                     )        DOCKET NO. 3:06 CR151
UNITED STATES of AMERICA,                            )
                                                     )
                                                     )
               v.                                    )
                                                     )
(5) ROBERT KUSTRA                                    )
                                                     )


                                             ORDER

       The Court hereby grants the Motion of the United States to strike as surplusage, the

words “, a citizen of Canada,” from paragraph 10 of the Superseding Indictment. After the

granting of this Order, Paragraph 10, will read as follows:

               10. ROBERT KUSTRA managed one or more of the call centers

               in Costa Rica.

       IT IS SO ORDERED.

                                                 Signed: January 26, 2011




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